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                            THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE
---------------------------------------------------------------x
                                                               :   Chapter 11
In re:                                                         :
                                                               :   Case No. 18-12491 (CTG)
PROMISE HEALTHCARE GROUP, LLC, et al.,1 :
                                                               :   (Jointly Administered)
Debtors.                                                       :
                                                               :   Re: D.I. No. 2853
---------------------------------------------------------------x

                                NOTICE OF RESCHEDULED HEARING

         PLEASE TAKE NOTICE, that with the permission of the Court, the hearing previously

scheduled for January 23, 2023 at 10:00 a.m. (prevailing Eastern Time) has been rescheduled to

March 21, 2023 at 11:00 a.m. (prevailing Eastern Time) before The Honorable Craig T Goldblatt

at the United States Bankruptcy Court for the District of Delaware, 824 North Market Street, 3rd

Floor, Courtroom 7, Wilmington, Delaware 19801.


Dated: January 13, 2023                               DLA PIPER LLP (US)
       Wilmington, Delaware
                                                       /s/ Stuart M. Brown
                                                      Stuart M. Brown (#4050)
                                                      Kaitlin W. MacKenzie (#5924)

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  The Debtors in these Chapter 11 Cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Promise Healthcare #2, Inc. (1913), Promise
Healthcare Group, LLC (1895), Promise Healthcare Holdings, Inc. (2601), Bossier Land Acquisition Corp. (6644), HLP
of Los Angeles, LLC (9102), HLP of Shreveport, Inc. (1708), HLP Properties at The Villages Holdings, LLC (0006),
HLP Properties at the Villages, L.L.C. (1938), HLP Properties of Vidalia, LLC (4255), HLP Properties, Inc. (0068),
Promise Healthcare of California, Inc. (9179), Promise Healthcare, Inc. (7953), Promise Hospital of Ascension, Inc.
(9219), Promise Hospital of Baton Rouge, Inc. (8831), Promise Hospital of Dade, Inc. (7837), Promise Hospital of Dallas,
Inc. (0240), Promise Hospital of East Los Angeles, L.P. (4671), Promise Hospital of Florida at The Villages, Inc. (2171),
Promise Hospital of Louisiana, Inc. (4886), Promise Hospital of Lee, Inc. (8552), Promise Hospital of Overland Park,
Inc. (5562), Promise Hospital of Phoenix, Inc. (1318), Promise Hospital of Salt Lake, Inc. (0659), Promise Hospital of
Vicksburg, Inc. (2834), Promise Hospital of Wichita Falls, Inc. (4104), Promise Properties of Dade, Inc. (1592), Promise
Properties of Lee, Inc. (9065), Promise Properties of Shreveport, LLC (9057), Promise Skilled Nursing Facility of
Overland Park, Inc. (5752), Promise Skilled Nursing Facility of Wichita Falls, Inc. (1791), Quantum Health, Inc. (4298),
Quantum Properties, L.P. (8203), Success Healthcare 1, LLC (6535), Success Healthcare, LLC (1604), Vidalia Real
Estate Partners, LLC (4947), LH Acquisition, LLC (2328), Promise Behavioral Health Hospital of Shreveport, Inc.
(1823), Promise Rejuvenation Centers, Inc. (7301), Promise Rejuvenation Center at the Villages, Inc. (7529), and PHG
Technology Development and Services Company, Inc. (7766). The mailing address for the Debtors, solely for purposes
of notices and communications, is c/o FTI Consulting, Inc., 50 California Street, Suite 1900, San Francisco, CA 94111.


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